                Case 13-33388-hcd     Doc 10     Filed 01/16/14    Page 1 of 2



                   IN THE UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF INDIANA AT SOUTH BEND

 IN RE:                                          CASE NO. 13-33388

 PATRICIA K. MINTON                               Chapter 7

                                     Debtor.     Judge Harry C. Dees, Jr.


                               NOTICE OF APPEARANCE


       Now comes David H. Yunghans, an attorney admitted to practice in the Northern District
of Indiana at South Bend, and appears on behalf of Carrington Mortgage Services, LLC, in the
above captioned proceedings.



Submitted by:

/s/ David H Yunghans
David H. Yunghans, Esq.
Attorney for Movant
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               Case 13-33388-hcd        Doc 10     Filed 01/16/14     Page 2 of 2



                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing has been served this 16th
day of January, 2014, by regular U.S. Mail, postage prepaid, or by electronic filing upon the
following:


               Patricia K. Minton, Debtor
               8988 W 1500 S
               Wanatah, IN 46390

               Gary D. Boyn, Bankruptcy Trustee
               121 West Franklin Street, Suite 400
               Elkhart, IN 46516

               Nancy J. Gargula, US Trustee
               One Michiana Square Building
               Suite 555
               100 East Wayne Street
               South Bend, IN 46601-2349


                                                     /s/ David H Yunghans
                                                     David H. Yunghans, Esq.
